          Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 1 of 16



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO




     DAVID CASILLAS, ET AL

           Plaintiffs,
                                                               CIVIL NO. 16-2564 (PAD)
           v.

     TRIPLE-S VIDA, INC.,

           Defendant.

                 OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                             AND MOTION TO STRIKE

        Triple-S Vida, Inc., (“Triple-S Vida”) through the undersigned attorneys, respectfully

opposes Plaintiffs’ Motion and Memorandum of Law in Support of Summary Judgment and

requests that the Court strike his purported expert reports:

I.      INTRODUCTION:

        Plaintiffs’ Motion for Summary Judgment should be denied because of its crass failure to

comply with Federal Rule of Civil Procedure 56. The motion is unsupported by any admissible

evidence. Indeed, the only documents submitted are two purported expert reports which have not

been accompanied by a statement under penalty of perjury authenticating such documents. As

such, these reports are inadmissible hearsay which should be stricken and, therefore, the motion

lacks any evidentiary support. Such an absolute lack of support is sufficient to deny the motion for

failure to comply with the Rules of Civil Procedure.

        The motion should also be denied because the so-called expert reports submitted in support

of the motions fail to comply with Daubert v. Merrel Dow. Pharms., 509 U.S. 579 (1993) and,
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 2 of 16



therefore, lack evidentiary value and should be stricken. Without evidentiary support of any kind,

the motion should be denied.

        Where the Court still willing to consider an unauthenticated and hence inadmissible pair

of documents which lack evidentiary weight, the Court should nonetheless conclude that Plaintiffs

have failed to prove that the disability continued beyond the two year period in which Triple-S

Vida paid benefits. In order to be considered disabled after the first two years of disability (when

only not being able to perform his own occupation was required), after the first two years of

disability the policy requires that the insured be unable to perform the duties of any occupation of

which he or she is capable of because of their experience, education or training. Plaintiffs’

contention that benefits are owed to him beyond the initial two-year period even if no disability

exists ignores this clear requirement. Moreover, Plaintiffs’ argument ignores that continued

disability is a condition precedent to maintaining the policy in effect, as the end of the disability is

one of the events that terminates coverage. Even assuming Plaintiff Casillas were only required to

prove he could not perform the duties of his own occupation for two years, the policy clearly states

that payments will not be paid after the disability ceases.

II.     ARGUMENT:

        A.      PLAINTIFFS DID NOT AUTHENTICATE THE EVIDENCE SUBMITTED IN SUPPORT OF
                THEIR MOTION WHICH RENDERS SUCH EVIDENCE INADMISSIBLE.

        Plaintiffs submitted only two documents in support of their request for summary judgment

and the Statement of Uncontested Facts: Dr. Grovas’ November 23, 2015 Independent Medical

Report (“IME Report”) and Dr. Grovas’ December 4, 2017 Independent Medical Re-Evaluation

Report (“IMERER”). These reports where not accompanied by an affidavit by Dr. Grovas

authenticating the same. This lack of authentication renders the reports plainly inadmissible.


                                                   2
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 3 of 16



       Fed.R.Civ.P. 56(c)(1) requires that the party moving for summary judgment identify

“particular parts of materials in the record, including depositions, documents, electronically stored

information, affidavits or declarations, stipulations (including those made for purposes of the

motion only), admissions, interrogatory answers, or other materials” which support its motion. The

moving party, therefore, has the burden of “demonstrat[ing] the absence of a genuine issue of

material fact” with definite and competent evidence. Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). Once definite and admissible evidence has been presented, the burden shift to the non-

moving party. Santiago–Ramos v. Centennial P.R. Wireless Corp., 217 F.3d 46, 52 (1st Cir. 2000).

Fed.R.Civ.P. 56(c)(2) allows a party to “object that the material cited to support or dispute a fact

cannot be presented in a form that would be admissible in evidence.” A document which is not

part of the record must, therefore, be authenticated in order to be admissible in evidence for

purposes of a motion to summary judgment.

       In Ramírez Ortiz v. Corporación del Centro Cardiovascular de Puerto Rico y del Caribe,

32 F.Supp. 3d 83 (D.P.R. 2014), the plaintiffs submitted an expert report without it being sworn.

Because it was unsworn, the Court concluded that it was “an inadmissible hearsay document that

cannot be considered as part of the summary judgment record.” Id. at 88 (citing Pack v. Damon

Corp., 434 F.3d 810, 815 (6th Cir. 2006); Capobianco v. City of N.Y., 422 F.3d 47, 55 (2d Cir.

2005). In Maldonado-Rodríguez v. St. Luke’s Memorial Hosp., Inc., 940 F.Supp.2d 30 (D.P.R.

2013), the Court found that plaintiff’s records submitted in support of a motion for summary

judgment were inadmissible because they had not been authenticated through a sworn statement.

The Court explained:

       “Documents supporting or opposing summary judgment must be properly
       authenticated.” Carmona v. Toledo, 215 F.3d 124, 131 (1st Cir. 2000) (citing
       Fed.R.Civ.P. Rule 56(e)). To be admissible at the summary judgment stage,

                                                 3
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 4 of 16



       documents must be authenticated by and attached to an affidavit that meets the
       requirements of Rule 56(e). See 10A Wright, Miller & Kane, Federal Practice &
       Procedure § 2722 (3d ed. 1998). “Under Federal Rule of Civil Procedure 56(e), on
       summary judgment, the parties in their supporting affidavits shall set forth such
       facts as would be admissible in evidence, and shall show affirmatively that the
       affiant is competent to testify to the matters stated therein.” Hoffman v. Applicators
       Sales And Service, Inc., 439 F.3d 9, 14 (1st Cir. 2006). “Sworn or certified copies
       of all papers or parts thereof referred to in an affidavit shall be attached thereto or
       served therewith.” Id. “The failure to authenticate a document properly precludes
       its consideration on a motion for summary judgment.” Robinson v. Bodoff, 355
       F.Supp.2d 578, 582 (D. Mass. 2005) (striking all exhibits that were submitted
       without affidavits).

       Moreover, a party must not “[overlook] the crucial point that documents do
       not automatically become a part of the record simply because they are the
       products of discovery.” Hoffman, 439 F.3d at 15. “If a party wishes the court
       to consider matters disclosed during discovery, he must take appropriate steps
       to have them included in the record: merely citing to pages of discovery
       materials not of record does not suffice.” Id.

       Id. at 34 (emphasis added); see also González v. Maersk Line, Ltd., 2012 WL 2675230

(D.P.R. July 5, 2012); see Ríos Colón v. United States, 928 F.Supp.2d 388 (D.P.R. 2012)(finding

an unsworn expert report to be “at best, an inadmissible hearsay document of the purported expert’s

opinion.”)(citing Pack, 434 F.3d at 815; Capobianco, 422 F.3d at 55; Fowle v. C&C Cola, 868

F.2d 59, 67 (3d Cir. 1989)); Liebling v. Novartis Pharmaceuticals Corporation, 2014 WL

12576619 (C.D. Ca. 2014)(compiling authorities).

       Since Dr. Grovas’ reports are documents which are not part of the record, they must be

authenticated in order to be admissible in evidence and in order to be used in support of Plaintiffs’

Motion for Summary Judgment. The reports were submitted along with the motion, but were

unaccompanied by a sworn statement, declaration, affidavit or any kind of attestation and,

therefore, are inadmissible hearsay. Given that the two hearsay reports were the only documents

submitted by Plaintiffs in support of their Motion for Summary Judgment and the Statement of



                                                 4
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 5 of 16



Uncontested Facts, the motion should be denied, as it would lack any evidentiary support to allow

the court to conclude that no issue of fact exists that would prevent a judgment in plaintiffs’ favor.

        B.      PLAINTIFFS STATEMENT OF UNCONTESTED MATERIAL FACTS VIOLATES THIS
                COURT’S ANTI-FERRETING RULE.


        Aside from relying on the inadmissible reports in their Statement of Uncontested Facts,

Plaintiffs include purported facts without making reference to any evidence whatsoever. The first

two paragraphs of their statement relate to the plaintiffs’ names, ages, marital status and residence.

No document was submitted in support of any of these “facts.” Triple-S Vida stated in its Answer

to the Complaint that it lacked knowledge or information regarding the truth of an identical

allegation. The lack of evidence in the record regarding domicile points to the fact that Plaintiffs’

have failed to establish that there is diversity of citizenship and, therefore, that they have failed to

establish the Court’s jurisdiction over their claim. Lundquist v. Precision Valley Aviation, Inc., 946

F.2d 8, 10 (1st Cir. 1991)(explaining that they key is proof of domicile, not proof of residence).

Without evidence to support a finding of the existence of diversity, the Court should find that

Plaintiffs have not met their burden of establishing the Court’s jurisdiction and should,

consequently, dismiss the complaint. See Rivera v. Hospital Interamericano, 125 F.Supp.2d 11,

17 (D.P.R. 2000)(“[O]nce diversity jurisdiction is challenged, a plaintiff asserting it must

demonstrate the facts supporting diversity jurisdiction by a preponderance of the evidence . . . .

The Court further notes that a party's bare declaration of domicile, which is self-serving in nature,

is accorded little weight when in conflict with objective facts”).

        Furthermore, Plaintiffs rely on general references to the purported expert reports and more

often than not “cite” to page ranges upwards of ten pages. They also make general and unspecific

references to Triple-S Vida’s Answer to the Complaint by stating that Triple-S Vida supposedly


                                                   5
           Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 6 of 16



admitted a fact. However, they purposely fail to make specific references to the paragraphs of the

Complaint and the Answer and fail to acknowledge that Triple-S Vida made significant exceptions

and clarifications in multiple paragraphs which presumably correspond to facts they attempt to

establish1. This is clearly the result of Plaintiffs flagrant violations of this Court’s anti-ferreting

rule contained in Local Rule 56(e) and which requires specific citations to the record. The rule

states, in pertinent part,

         An assertion of fact set forth in a statement of material facts shall be followed by a
         citation to the specific page or paragraph of identified record material supporting
         the assertion. The court may disregard any statement of fact not supported by a
         specific citation to record material properly considered on summary judgment. The
         court shall have no independent duty to search or consider any part of the record
         not specifically referenced in the parties’ separate statement of facts.

         Local Rule 56(e). “The rule is intended ‘to relieve the district court of any responsibility

ferret through the record to discern whether any material fact is genuinely in dispute.’” Carreras

v. Sajo, García & Partners, 596 F.3d 25, 31 (1st Cir. 2010) (quoting CMI Capital Market Inv. v.

González–Toro, 520 F.3d 58, 62–63 (1st Cir. 2008)).

         Given the repeated violations of this Court’s anti-ferreting rule, the Court should strike all

statements of fact not supported by a specific reference to the record. The Court should, therefore,



1
          We note that Plaintiffs devote several pages of their motion recounting certain allegations of the complaint
and Triple-S Vida’s answer to them, and criticizing Triple-S Vida’s denials and the explanations supporting such
denials. This is yet another procedural violation of the Plaintiffs. At the summary judgment stage, the pleadings are
no longer determinative of the parties’ respective positions, for at this stage the parties are required to move beyond
the pleadings. See Hodge v. Parke Davis & Co., 833 F.2d 6, 7 (1st Cir. 1987) (“Rule 56(e) requires nonmoving party
to go beyond pleadings to designate ‘specific facts’ on which party will bear burden of proof at trial”) (citing Celotex
Corp. v. Catrett, 477 U.S. 317 (1986)); Petitti v. New England Tel. & Tel. Co., 909 F.2d 28, 31 (1st Cir. 1990)(“The
courts examining the evidence must insist that the party opposing summary judgment go beyond the pleadings, and
by his or her ‘own affidavits, or by the ‘depositions, answers to interrogatories, and admission on file designate specific
facts showing that there is a genuine issue for trial.’”) (quoting Fed.R.Civ.P. 56(e) and Lipsett v. University of Puerto
Rico, 864 F.2d 886, 895 (1st Cir.1988)).



                                                            6
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 7 of 16



disregard paragraphs 7-23 and 26 of Plaintiffs’ Statement of Uncontested Facts. The majority of

these statements are also inadmissible due to their reliance on the inadmissible expert reports.

       C.      THE PURPORTED EXPERT REPORTS ARE INADMISSIBLE UNDER DAUBERT AND
               SHOULD BE STRICKEN.


       To begin, there is nothing in the way of admissible evidence before the Court to establish

Dr. Grovas’ credentials as an expert. The curriculum vitae attached to the IME Report is, as

explained above, inadmissible for lack of authenticity. Moreover, Dr. Grovas’ purported expert

reports fails to recount, analyze and weigh Mr. Casillas’ medical history. Indeed, Mr. Casillas

history regarding his car accident, back surgery, knee surgeries, psychiatric history and

hospitalizations is not included and no analysis is made of how these pre-existing conditions

impacted his present condition.

       Rule 702 allows an expert witness to testify if (1) his “knowledge will help the trier of fact

to understand the evidence or to determine a fact in issue;” (2) “the testimony is based on sufficient

facts or data;” (3) “the testimony is the product of reliable principles and methods,” and (4) if “the

expert has reliably applied the principles and methods to the facts of the case.” Fed. R. Evid. 702.

Additionally, the Advisory Committee Note for Rule 702 states that, where the expert’s testimony

cannot comply with all three reliability requirements, the testimony must be excluded.

       “The Daubert Court explained that this rule requires district courts to act as gatekeepers,

ensuring that an expert's proffered testimony ‘both rests on a reliable foundation and is relevant to

the task at hand.’” Samaan v. St. Joseph Hosp., 670 F.3d 21, 31 (1st Cir. 2012) (quoting Daubert,

509 U.S. at 597); see Glen Weissenberger, WEISSENBERGER’S FEDERAL EVIDENCE § 702.3 (7th ed.

2015). Evidence that is relevant has a “tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it would be


                                                  7
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 8 of 16



without the evidence.” Pages-Ramírez v. Ramírez-González, 605 F.3d 109, 115 (1st Cir. 2010).

Relevant expert testimony must also be that which is outside of the scope of the “untrained

layman.” United States v. Montas, 41 F.3d 775, 783 (1st Cir. 1994).

       To determine whether an expert’s methodology is reliable, the Supreme Court has

established the guidelines, such as examining whether the methodology has been tested, whether

it has been published and subjected to peer review, what sort of rate of error would it have, whether

there are standards that serve as controls and whether these standards were employed, and whether

it has been generally accepted. Daubert, 509 U.S. at 593-94 (1993). In order to determine whether

a methodology is reliable, “the district court must consider a number of factors, including but not

limited to “the verifiability of the expert's theory or technique, the error rate inherent therein,

whether the theory or technique has been published and/or subjected to peer review, and its level

of acceptance within the scientific community.” Samaan, 670 F.3d at 31-32 (quoting Ruiz–Troche

v. Pepsi Cola of P.R. Bottling Co., 161 F.3d 77, 81 (1st Cir. 1998)).

       An expert’s methodology would not be reliable where the expert fails to take all relevant

facts into account and rule out all other alternatives, Packgen v. Berry Plastics Corp., 46 F. Supp.

3d 92, 111 (D. Me. 2014), aff'd, 847 F.3d 80 (1st Cir. 2017); where the methodology cannot

definitively confirm the conclusion reached by the expert, Milward, 820 F.3d at 480; where the

expert’s methodology is erroneous or he fails to explain how it works, United States v. Brown, 415

F.3d 1257 (11th Cir. 2005); where the methodology has not been published or peer-reviewed, Ruiz-

Troche, 161 F.3d at 81; or where the expert conducted an incomplete investigation, Valle-Ortiz v.

R.J. Reynolds Tobacco Co., 385 F. Supp. 2d 126, 131 (D.P.R. 2005).

       Rule 703 provides the courts with guidance in examining the bases for an expert’s

testimony. Rule 703 states that an expert opinion may be based on facts: (1) that the expert has

                                                 8
         Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 9 of 16



observed or been made aware of; (2) that are reasonably relied upon by experts in the field and not

admitted into evidence; and (3) that are not reasonably relied upon by experts in the field nor

admitted into evidence, but which still have probative value. Fed. R. Evid. 703.

        Taken together, Rules 702 and 703 set forth the terms under which expert testimony would

be helpful to the trier of fact and, consequently, admissible. Evidence that “confus[es] the issues”

or “mislead[s] the jury” should be excluded. Fed. R. Evid. 403. In the context of expert reports

relating to disability, Courts have found that reports which fail to take into account a subject’s past

medical history are not based on sufficient facts or data, as required by Fed.R.Evid. 702.

        In Rivera v. Centro Médico del Turabo Inc., the District Court rejected an expert report

because the expert had not deemed it necessary to review the subjects medical history and records

and his report was, therefore, based on incorrect factual premises. 2017 WL 4122607 (D.P.R. Sept,

18, 2017).

        In Rhone v. US, the Southern District of New York excluded an expert report where the

expert failed to include the subject’s prior medical history and failed to address the evidence of

prior accidents and the presence of the degenerative conditions brought forth by the government.

2007 WL 3340836 (S.D.N.Y. Nov. 9, 2007). The Court stated:

        Indeed, Dr. Pasqua's report does not address the Government's evidence that the
        injuries were degenerative in nature and does not mention Rhone's prior accident.
        In addition, Dr. Pasqua fails to consider Rhone's medical history prior to the
        December 2003 accident. Courts have repeatedly held that such conclusory
        statements are merely speculative and are insufficient to meet plaintiff's burden. Id.
        at *9 (citing cases).

        In North v. Ford Motor Co., a District Court excluded an expert testimony because

it failed to include the subject’s medical history and, therefore, was unreliable. The Court

stated that:


                                                  9
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 10 of 16



       [The Expert] relied on incomplete information, and did not include such
       information as a complete medical and psychological history. He did not include
       pre-existing conditions such as early adolescent alcohol use by one Plaintiff or
       post-accident events such as the second car accident involving for a Plaintiff. As
       the Tenth Circuit stated in Bitler, “the plaintiff must show that the method
       employed by the expert in reaching the conclusion is scientifically sound and that
       the opinion is based on facts which sufficiently satisfy Rule 702's reliability
       requirements. 505 F.Supp.2d 1113 (D.U. 2007).

       Likewise, in Watson-Tobah v. Royal Moving & Storage, Inc., the same district excluded

an expert testimony which was:

       [w]holly conclusory and not grounded in any differential or other scientific analysis
       ruling out other potential causes of plaintiffs injuries, such as plaintiff's prior car
       accidents or the physical altercations in which plaintiff was involved as a police
       officer. Indeed, the medical reports do not contain any causation analysis at all.
       Kaisman's reports do not mention any of plaintiff's prior accidents and workplace
       altercations, much less scientifically eliminate them as causal factors of the injuries
       to plaintiffs spine. Abramov's “initial physiatric evaluation” mentions (only) the
       2005 accident, but does not contain any analysis assessing whether the 2005
       accident could have caused plaintiff's injuries. Khakhar's report does not even
       include a causation opinion. 2014 WL 68865713 at (S.D.N.Y. Dec. 5, 2014).

       In Roth v. 2810026 Canada Limited, the Western District of New York determined that the

plaintiffs experts had failed to properly analyze the plaintiff’s medical history so as to determine

the effect, if any, of the tort had upon his health. 2017 WL 4310689 at *24 (W.D.N.Y. Sept. 28,

2017)(“[T]he opinions are merely conclusory, with no attempt to distinguish the deficit in Roth's

ROM of his cervical and lumbar spine ROMs before and after the collision or to otherwise explain

the basis for concluding Roth's preexisting spine conditions were aggravated or exacerbated as a

result of the collision”). The Court there noted that given the defendant’s expert evidence

establishing the existence of pre-existing conditions, plaintiff had the burden of coming forward

with evidence to dispute the conclusion. Id. at 24 (citing Brusso v. Imbeault, 699 F.Supp.2d 567,

585-86 (W.D.N.Y. 2010) (citing cases).



                                                 10
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 11 of 16



       In Rangel v. Anderson, the Southern District of Georgia found that expert reviewed only

the subject’s radiology reports and failed to review all other studies in the record regarding his

prior conditions, rendering his opinion unreliable under Daubert and, therefore, inadequate for the

assistance of the trier of fact under Fed. R. Evid. 702. 202 F.Supp.3d 1361, 1370 (S.D.GA. 2016)

The Court excluded the experts opinion because the expert’s “reliance upon (1) his treatment and

observation of Plaintiff, (2) Plaintiff's testimony, and (3) Dr. Karl's own expertise does not remedy

the insufficient bases of Dr. Karl's opinion.” Id.

       As stated above, Dr. Grovas’ reports fail to address Mr. Casillas’ extensive prior medical

history. The initial IME Report of November 23, 2015 is silent regarding Casillas’ prior medical

history of a car accident, back surgery, two knee surgeries and his psychiatric history and

hospitalizations. The fact that the subsequent IMERER was issued after Dr. Santiago had flagged

the lack of clinical history in Dr. Grovas’ IME Report and especially after Dr. Santiago had

documented and explained the causal connection between such history and Mr. Casillas’ current

state, particularly weighs against the admissibility of the reports rendered by a purported expert

whose qualifications as such have not been established for this court to, first qualify Dr. Grovas as

an expert and, second admit his testimony in form of reports.

       D.      PLAINTIFFS’ THEORY OF LIABILITY IS CONTRARY TO THE CLEAR TERMS OF THE
               POLICY AT ISSUE.


       In the Motion for Summary Judgement, Plaintiffs argue that Triple-S Vida is liable because

it breached the terms of the policy by denying Mr. Casillas with the continuation of benefits

enjoyed between September 8, 2011 and August 29, 2013. At the heart of Plaintiffs’ dense and

convoluted asseverational array, seems to be the argument that once Triple-S Vida considered Mr.

Casillas could not perform his occupation for two years and was thus disabled, it could not cease


                                                     11
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 12 of 16



the payment of benefits because for all purposes Mr. Casillas continues to be disabled and he no

longer has to present proof of such disability. Plaintiffs’ interpretation of the policy is erroneous.

       According to the policy, payment of disability benefits will end upon the occurrence of any

of the following events:

       1. When disability ends; or

       2. Five years after the elimination period; or

       3. One year after the insured’s 65th birthday.

See, Triple-S Vida Statement of Uncontested Material Facts, at ¶22, Docket No. 22.

       Therefore, save for those events that depend solely on the passage of time (events 2 and 3),

the insured has the continuing obligation to be disabled and present evidence to the insurer of such

continuing disability, for the end of such condition terminates coverage. It is a well-established

doctrine that generally the insured bears the initial burden of establishing coverage, while the

insurer bears the burden on exclusions from coverage. Utica Mut. Ins. Co. v. Herbert H. Landy

Ins. Agency, Inc., 820 F.3d 36, 41 (1st Cir. 2016); Díaz Ayala v. ELA, 2001 TSPR 40, P.R. Offic.

Trans. (“Under the Puerto Rico Law of Evidence, the burden of proof of an obligation is on the

party that demands its performance, such as an insured or claimant seeking to assert his or her right

to compensation under an insurance contract. Nonetheless, if the insurance company denies an

insured or claimant coverage or the right to compensation ... the burden of proof shifts to the insurer

that denies its indemnity obligation.”)(citing Rolando Cruz,     DERECHO DE SEGUROS,      p. 386, San

Juan, Pubs. JTS (1999)).

       In addition, under the policy, benefits are paid during the continuation of a “total

disability,” which in occurs:



                                                  12
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 13 of 16



       1. if the injury or illness causing the disability occurs or originates after the effective date
       of this rider; and
       2. if the disability begins after age 15 and before the policy anniversary following the
       insured’s 65th birthday; and
       3. if the disability lasts one month; and
       4. if the insured:
          a. has lost the use of both legs; or
          b. has lost the use of both arms; or
          c. has lost the use of an arm and a leg; or
          d. has lost vision in both eyes; or
          e. during the first two years of disability cannot perform the duties of his regular
          occupation; or
          f. after the first two years of disability cannot perform the essential duties of any
          occupation of which he is capable by reason of experience, education or training;
          or
          g. cannot physically attend school, if the insured is a student.

Triple-S Vida’s Statement of Uncontested Material Facts at ¶23, Docket No. 22 (emphasis added).

       The policy thus states that an insured individual who cannot perform the duties of his

regular occupation during the first two years of disability will receive benefits. If, however, the

insured cannot perform the duties of any occupation of which he is capable due to experience,

education and training after the first two years, he will receive benefits. The policy clearly changes

the applicable standard after the first two years of disability by requiring that the disability impede

the exercise of any occupation, whereas during the first two years only the inability to perform the

insured own occupation is required.

       The policy contains an “or” between the two sub-sections which, if read in isolation and

out of context, can lead the reader to believe that the clauses are in the alternative. But this reading

is contrary to the more natural meaning of the clause and which is apparent from a plain reading:

that there are two different periods, i.e., first two years and subsequent years. “If any stipulation

of a contract should admit of different meanings, it should be understood in the sense most suitable

to give it effect.” Art. 1236 of the Civil Code of PR. 31 LPRA § 3474. Furthermore, “[t]he


                                                  13
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 14 of 16



stipulations of a contract should be interpreted in relation to one another, giving to those that are

doubtful the meaning which may appear from the consideration of all of them together.” Art. 1237

of the Civil Code of PR. 31 LPRA § 3475. Moreover, these subsections cannot be read isolated

but in tandem, because in order to obtain continued coverage the insured has to be disabled not

only during the first two years of disability but, continuously until the policy expires due to the

passage of time. Otherwise, the cessation of disability triggers the early termination of the policy

and the insured may not expect to continue receiving benefits for disability, when the condition

precedent to maintain the policy in effect is absent.

       Plaintiffs proposed reading of the policy divorced from its plain text and, therefore,

erroneous. Plaintiff is not forever entitled to disability benefits simply because he was found to be

unable to perform the duties of his occupation for the first two years of disability. To be entitled

to continued benefits he must show that he is unable to perform the duties of any occupation for

which he is capable due to experience, education or training.

       Triple-S Vida’s expert’s opinion is that Mr. Casillas’ current physical condition is due to

pre-existing conditions unrelated to the work related injuries he suffered in 2011. He thus

concluded that:

       These prior medical conditions are considered to be a substantial contributory cause
       of Mr. Casillas’ alleged total disability, because the symptoms he has exhibited and
       is exhibiting before and after the June 2011 work incidents are the same. Before
       June 2011, and at least since May 2010, Mr. Casillas was found to have hand
       limitations with pain, tenderness and sensory changes. Physicians had also
       diagnosed muscle weakness and marked loss of movement on back, neck and hips.
       Tellingly, the physicians also diagnosed the symptoms of classical bilateral Carpal
       Tunnel Syndrome and DDD.

Triple-S Vida’s Statement of Uncontested Material Facts at ¶ 99, Docket No. 22. This renders his

claim to benefits unmeritorious. Furthermore, Dr. Santiago considers that Mr. Casillas is capable


                                                 14
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 15 of 16



of performing “the essential duties of any other [sedentary] occupation based on Mr. Casillas’

education, preparation and extensive work experience in Puerto Rico and the United States.” Id.

at ¶101. He would have, however, minimal restrictions such as:

       [O]ccasional lifting and carrying up to 10 pounds; sitting during 8 hours a day with
       short periods of rest and to change positions; standing for 3 hours every 8 hours of
       workday; walking for 1 hour every 8 hours of workday; and occasional bending at
       the waist and reaching above shoulder. I also find that Mr. Casillas has no
       restrictions in simple grasp, pull, push and fine manipulation. Id.

       Even assuming that Plaintiffs’ interpretation of the policy is correct, he would still not be

entitled to benefits because his disability was allegedly caused by an acute cervical trauma, which,

as he acknowledges, could no longer be seen in the 2014 and 2015 MRIs. The fact that the

herniations resolved is, according to Plaintiffs, “hard evidence that they were not chronic disorders,

but acute, and thus not classifiable as a preexisting condition.” Plaintiffs’ Motion for Summary

Judgment at 10, Docket No. 26. The policy clearly states that the payment of benefits will end

“when the disability ends; or 5 years after the elimination period; or the Policy anniversary

following the insured’s 65th birthday.” Triple-S Vida’s Statement of Uncontested Material Facts,

¶22, Docket No. 22. Benefits to Mr. Casillas, therefore, correctly ceased once the herniations

produced by the 2011 injuries resolved. In any case, they would have ceased in 2016 (five years

after the elimination period began).

       On a final note, there is absolutely no evidence in the record as to the amount of damages

claimed by Plaintiffs. Where the Court inclined to find in favor of Plaintiffs a damages hearing

should be ordered.

       WHEREFORE, it is respectfully requested that the Court deny Plaintiffs’ Motion for

Summary Judgment, strike his purported expert reports and, in turn, grant Triple-S Vida’s Motion

for Summary Judgment.

                                                 15
        Case 3:16-cv-02564-PAD Document 35 Filed 03/19/18 Page 16 of 16



       Respectfully submitted,

       In San Juan, Puerto Rico, this 19th day of March 2018.

       I hereby certify that today we filed the foregoing with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to counsel for Plaintiff.

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                                               16
